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15   Lytx, Inc.
16
                   IN THE UNITED STATES DISTRICT COURT
17               FOR THE SOUTHERN DISTRICT OF CALIFORNIA
18
      SOCIAL POSITIONING INPUT
19    SYSTEMS, LLC,
20                  Plaintiff,                C.A. 3:21-CV-00104-DMS-BGS

21                 v.                         JURY TRIAL DEMANDED
22
      LYTX, INC.,                             PATENT CASE
23
24                       Defendant.

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26             LYTX, INC.’S ANSWER, AFFIRMATIVE DEFENSES,
              AND COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT
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1          Defendant Lytx, Inc.’s (“Lytx” or “Defendant”) files this Answer,
2    Affirmative Defenses, and Counterclaims to Plaintiff Social Positioning Input
3    Systems, LLC’s (“Plaintiff” or “Social Positioning”) Complaint for Patent
4    Infringement (“Complaint”). Lytx denies the allegations and characterizations in
5    Plaintiff’s Complaint unless expressly admitted in the following paragraphs.1
6                             PARTIES AND JURISDICTION
7          1.     Lytx admits that the Complaint purports to set forth an action for
8    infringement under the Patent Laws of the United States, 35 U.S.C. § 1, et seq.
9          2.     Lytx admits that this Court has subject matter jurisdiction over this
10   action pursuant to 28 U.S.C. §§ 1331 and 1338(a).
11         3.     Lytx is without knowledge or information sufficient to form a belief
12   as to the truth of the allegations in Paragraph 3 of the Complaint and, on that basis,
13   denies all such allegations.
14         4.     Lytx admits the allegations in Paragraph 4 of the Complaint.
15         5.     Lytx does not contest that the Court has personal jurisdiction over it in
16   this case. Lytx admits that it conducts business in the State of California. Lytx
17   denies it has committed or is committing acts of infringement within this district or
18   elsewhere and, on that basis, denies the remaining allegations of Paragraph 5 of the
19   Complaint.
20         6.     Lytx admits that it has used, imported, offered for sale, or sold
21   instrumentalities in this District. Lytx denies it has committed or is committing acts
22   of infringement within this district or elsewhere and, on that basis, denies the
23   remaining allegations of Paragraph 6 of the Complaint.
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26     For avoidance of doubt, Lytx denies liability for all allegations of patent
     infringement included or implied in the introductory paragraph or in any headings
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     of the Complaint.
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1                                          VENUE
2          7.     Lytx does not contest that venue is proper in this case, but denies that
3    venue is convenient.
4                             COUNT I
         (ALLEGED) INFRINGEMENT OF UNITED STATES PATENT NO.
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                              9,261,365
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7          8.     Lytx incorporates paragraphs 1 through 7 herein by reference.
8          9.     Lytx admits that the Complaint purports to set forth an action for
9    infringement under the Patent Laws of the United States, 35 U.S.C. §§ 271, et seq.
10         10.    Lytx is without knowledge or information sufficient to form a belief
11   as to the truth of the allegations in Paragraph 10 of the Complaint and, on that
12   basis, denies all such allegations.
13         11.    Lytx admits that a purported copy of U.S. Patent No. 9,261,365 (the
14   “’365 Patent”) is attached to the Complaint as Exhibit A and that the face of that
15   patent indicates that it is entitled “Device, System and Method for Remotely
16   Entering, Storing and Sharing Addresses for a Positional Information Device.”
17         12.    Lytx denies the allegations in Paragraph 12 of the Complaint.
18         13.    Lytx denies the allegations in Paragraph 13 of the Complaint.
19         14.    Lytx denies the allegations in Paragraph 14 of the Complaint.
20         15.    Lytx denies the allegations in Paragraph 15 of the Complaint.
21         16.    Lytx denies the allegations in Paragraph 16 of the Complaint.
22         17.    Lytx denies the allegations in Paragraph 17 of the Complaint.
23         18.    Lytx denies the allegations in Paragraph 18 of the Complaint.
24         19.    Lytx denies the allegations in Paragraph 19 of the Complaint.
25         20.    Lytx denies the allegations in Paragraph 20 of the Complaint.
26         21.    Lytx denies the allegations in Paragraph 21 of the Complaint.
27         22.    Lytx denies the allegations in Paragraph 22 of the Complaint.
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1            23.    Lytx denies the allegations in Paragraph 23 of the Complaint.
2            24.    Lytx denies the allegations in Paragraph 24 of the Complaint.
3            25.    Lytx denies the allegations in Paragraph 25 of the Complaint.
4            26.    Lytx denies the allegations in Paragraph 26 of the Complaint.
5            27.    Lytx denies the allegations in Paragraph 27 of the Complaint.
6            28.    Lytx is without knowledge or information sufficient to form a belief
7    as to the truth of the allegations in Paragraph 28 of the Complaint and, on that
8    basis, denies all such allegations.
9                      [PLAINTIFF’S] DEMAND FOR JURY TRIAL
10           Lytx is not required to provide a response to Plaintiff’s demand for a trial by
11   jury.
12                         [PLAINTIFF’S] PRAYER FOR RELIEF
13           Lytx denies the Plaintiff is entitled to any relief from Lytx and denies all the
14   allegations contained in Paragraphs (a)-(e) (including any subparts) of Plaintiff’s
15   Prayer for Relief.
16                               AFFIRMATIVE DEFENSES
17           Lytx’s Affirmative Defenses are listed below. Lytx reserves the right to
18   amend its answer to add additional Affirmative Defenses consistent with the facts
19   discovered in this case.
20                            FIRST AFFIRMATIVE DEFENSE
21           Lytx has not infringed and does not infringe, under any theory of
22   infringement (including directly (whether individually or jointly) or indirectly
23   (whether contributorily or by inducement)), any valid, enforceable claim of the
24   ’365 Patent.
25                          SECOND AFFIRMATIVE DEFENSE
26           Each asserted claim of the ’365 Patent is invalid for failure to comply with
27   one or more of the requirements of the United States Code, Title 35, including
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1    without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations,
2    and laws pertaining thereto.
3                           THIRD AFFIRMATIVE DEFENSE
4          To the extent that Plaintiff and any predecessors in interest to the ’365 Patent
5    failed to properly mark any of their relevant products or materials as required by
6    35 U.S.C. § 287, or otherwise give proper notice that Lytx’s actions allegedly
7    infringe the ’365 Patent, Lytx is not liable to Plaintiff for the acts alleged to have
8    been performed before Lytx received actual notice that it was allegedly infringing
9    the ’365 Patent.
10                         FOURTH AFFIRMATIVE DEFENSE
11         To the extent that Plaintiff asserts that Lytx indirectly infringes, either by
12   contributory infringement or inducement of infringement, Lytx is not liable to
13   Plaintiff for the acts alleged to have been performed before Lytx knew that its
14   actions would cause indirect infringement.
15                           FIFTH AFFIRMATIVE DEFENSE
16         The claims of the ’365 Patent are not entitled to a scope sufficient to
17   encompass any system employed or process practiced by Lytx.
18                          SIXTH AFFIRMATIVE DEFENSE
19         To the extent Plaintiff contends that it alleges a claim for indirect
20   infringement (whether by inducement or contributorily), Plaintiff has failed to state
21   a claim upon which relief can be granted.
22                        SEVENTH AFFIRMATIVE DEFENSE
23         Plaintiff’s Complaint fails to state a claim upon which relief can be granted
24   because the ’365 Patent does not claim patent eligible subject matter under 35
25   U.S.C. § 101.
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1                          EIGHTH AFFIRMATIVE DEFENSE
2          Plaintiff’s Complaint fails to state a claim upon which relief can be granted
3    because, among other things, Plaintiff has not stated a plausible allegation that any
4    system employed by Lytx practices: “sending a request from a requesting
5    positional information device to a server for at least one address stored in at least
6    one sending positional information device, the request including a first identifier of
7    the requesting positional information device”; and “receiving at the requesting
8    positional information device, from the server, a retrieved at least one address to
9    the requesting positional information device wherein the server determines a
10   second identifier for identifying the at least one sending positional information
11   device based on the received first identifier and retrieves the requested at least one
12   address stored in the identified at least one sending positional information device”;
13   as required by Claim 1 of the ’365 Patent.
14                          NINTH AFFIRMATIVE DEFENSE
15         Plaintiff is estopped, based on statements, representations, and admissions
16   made during prosecution of the patent application resulting in the asserted patent,
17   from asserting any interpretation of any valid, enforceable claims of the ’365
18   Patent that would be broad enough to cover any accused product alleged to infringe
19   the asserted patent, either literally or by application of the doctrine of equivalents.
20                          TENTH AFFIRMATIVE DEFENSE
21         Plaintiff’s claims for damages are statutorily limited or barred by 35 U.S.C.
22   §§ 286 and 287. Plaintiff is further barred under 35 U.S.C. § 288 from recovering
23   costs associated with its action.
24                       ELEVENTH AFFIRMATIVE DEFENSE
25         Plaintiff is precluded from recovering its reasonable attorney’s fees, costs,
26   and or increased damages under 35 U.S.C. §§ 284 or 285.
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1                          TWELFTH AFFIRMATIVE DEFENSE
2          Should Lytx be found to infringe any valid, enforceable claim of the ’365
3    Patent, such infringement was not willful.
4                                  LYTX’S COUNTERCLAIMS
5          For its counterclaims against Plaintiff Social Positioning Input Systems,
6    LLC (“Social Positioning”), Counterclaim Plaintiff Lytx Corporation (“Lytx”),
7    alleges as follows:
8                                         PARTIES
9          1.      Counterclaim Plaintiff Lytx is a corporation organized and existing
10   under the laws of Delaware that maintains its principal place of business at 9785
11   Towne Centre Drive, San Diego, California 92121.
12         2.      Upon information and belief based solely on Paragraph 1 of the
13   Complaint as pled by Plaintiff, Counterclaim Defendant Social Positioning Input
14   Systems, LLC is a limited liability company organized and existing under the laws
15   of Texas that maintains its principal place of business at 1801 NE 123 Street, Suite
16   314, Miami, FL 33181.
17                                     JURISDICTION
18         3.      Lytx incorporates by reference Paragraphs 1–2 above.
19         4.      These counterclaims arise under the patent laws of the United States,
20   Title 35, United States Code. The jurisdiction of this Court is proper under at least
21   35 U.S.C. § 271 et seq., and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.
22         5.      Social Positioning has consented to the personal jurisdiction of this
23   Court at least by commencing its action for patent infringement in this District, as
24   set forth in its Complaint.
25         6.      Based solely on Social Positioning’s filing of this action, venue is
26   proper for purposes of these counterclaims in this District pursuant at least 28
27   U.S.C. §§ 1391 and 1400.
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1                           COUNT I
        DECLARATION REGARDING NON-INFRINGEMENT OF THE ’365
2
                            PATENT
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4          7.       Lytx incorporates by reference Paragraphs 1–6 above.
5          8.       Based on Social Positioning’s filing of this action and at least Lytx’s
6    first affirmative defense, an actual controversy has arisen and now exists between
7    the parties as to whether Lytx infringes U.S. Patent No. 9,261,365 (the “’365
8    Patent”).
9          9.       Lytx does not infringe at least Claim 1 of the ’365 Patent because,
10   inter alia, Plaintiff has not stated a plausible allegation that any system employed
11   by Lytx practices: “sending a request from a requesting positional information
12   device to a server for at least one address stored in at least one sending positional
13   information device, the request including a first identifier of the requesting
14   positional information device”; and “receiving at the requesting positional
15   information device, from the server, a retrieved at least one address to the
16   requesting positional information device wherein the server determines a second
17   identifier for identifying the at least one sending positional information device
18   based on the received first identifier and retrieves the requested at least one address
19   stored in the identified at least one sending positional information device.”
20         10.      Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
21   et seq., Lytx requests a declaration by the Court that Lytx has not infringed and
22   does not infringe any claim of the ’365 Patent under any theory (including directly
23   (whether individually or jointly) or indirectly (whether contributorily or by
24   inducement).
25                                        COUNT II
26                    DECLARATION REGARDING INVALIDITY
27         11.      Lytx incorporates by reference Paragraphs 1–10 above.
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1          12.     Based on Social Positioning’s filing of this action and at least Lytx’s
2    Second Affirmative Defense, an actual controversy has arisen and now exists
3    between the parties as to the validity of the claims of the ’365 Patent.
4          13.     On information and belief, the claims of the ’365 Patent are invalid
5    for failure to comply with one or more of the requirements of United States Code,
6    Title 35, and the rules, regulations, and laws pertaining thereto.
7          14.     For example, as explained in Lytx’s Motion to Dismiss pursuant to
8    Fed. R. Civ. P. 12(b)(6), incorporated by reference herein, the ’365 Patent is invalid
9    for failure to comply with 35 U.S.C. § 101. As explained, the ’365 Patent claims
10   nothing more than an abstract idea, and it fails to claim an inventive concept.
11         15.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. § 2201
12   et seq., Lytx requests a declaration by the Court that the claims of the ’365 Patent
13   are invalid for failure to comply with one or more of the requirements of United
14   States Code, Title 35, including without limitation, 35 U.S.C. §§ 101, 102, 103, and
15   112, and the rules, regulations, and laws pertaining thereto.
16         16.     Lytx does not have an adequate remedy at law.
17                                PRAYER FOR RELIEF
18         WHEREFORE, Lytx asks this Court to enter judgment in Lytx’s favor and
19   against Social Positioning by granting the following relief:
20         a)      a declaration that the ’365 Patent is invalid;
21         b)      a declaration that Lytx does not infringe, under any theory, any valid
22   claim of the ’365 Patent that may be enforceable;
23         c)      a declaration that Social Positioning take nothing by its Complaint;
24         d)      judgment against Social Positioning and in favor of Lytx;
25         e)      dismissal of the Complaint with prejudice;
26         f)      a finding that this case is an exceptional case under 35 U.S.C. § 285
27   and an award to Lytx of its costs and attorneys’ fees incurred in this action; and
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1          g)     further relief as the Court may deem just and proper.
2                                    JURY DEMAND
3          Lytx hereby demands trial by jury on all issues.
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6          Dated: March 22, 2021             By: /s/ Rodeen Talebi
                                             Rodeen Talebi
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